Defendant, in a trial before the court without a jury, suffered conviction and judgment thereon of driving a vehicle on a highway while under the influence of intoxicating liquor. Section 3, tit. 3, Act No. 318, Pub. Acts 1927. He prosecutes review on certiorari.
The code of criminal procedure (chapter 10, Act No. 175, Pub. Acts 1927), provides for review after judgment by writ of error, and it provides no other method, and it states:
"All acts and parts of acts relative to exceptions before sentence in criminal cases, and all other provisions of law inconsistent with the provisions of this chapter, are hereby expressly repealed."
The right of appeal or review is statutory. It follows that the writ of certiorari, granted improvidently, must be dismissed.
For benefit of counsel, it is stated that a consideration of the merits would not change the result.
Writ dismissed.
FEAD, C.J., and NORTH, FELLOWS, WIEST, McDONALD, POTTER, and SHARPE, JJ., concurred.